                   IN THE COURT OF APPEALS OF NORTH CAROLINA

                                      2021-NCCOA-694

                                          No. COA20-610

                                   Filed 21 December 2021

     Cumberland County, No. 16 CRS 2688-94, 2697-2701

     STATE OF NORTH CAROLINA

                  v.

     ROBIN APPLEWHITE


           Appeal by defendant from judgments entered 5 March 2019 by Judge Thomas

     H. Lock in Cumberland County Superior Court. Heard in the Court of Appeals 3

     November 2021.


           Attorney General Joshua H. Stein, by Assistant Attorney General A. Mercedes
           Restucha-Klem, for the State.

           Michael E. Casterline for defendant-appellant.


           TYSON, Judge.


¶1         Robin Applewhite (“Defendant”) appeals from judgments entered upon a jury’s

     verdicts finding him guilty of twelve counts of human trafficking, eleven counts of

     promoting prostitution and four counts of conspiracy to promote prostitution and

     attaining habitual felon status. We find no error.

                                     I.     Background

¶2         Defendant met several adult women, A.C., H.M., A.B., M.F., J.O. and E.C.
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     between December 2012 and March 2015 (parties agree to permit use of pseudonyms

     to protect the identity of the victims).      Defendant capitalized on the women’s

     addictions to heroin and dire economic circumstances to manipulate them to engage

     in prostitution arranged via online advertisements set up by Defendant and his wife,

     Samantha Rivard (“Rivard”).      The women gave money paid and received from

     engaging in sexual acts to Defendant in exchange for heroin, food, transportation,

     and a place to live.

¶3         Defendant withheld drugs, food, sleep and means of communication from the

     women with family and friends. He locked the women in a hotel room or in the

     basement of his own home on occasions.

¶4         Defendant drove the women across North Carolina, from Fayetteville to

     Charlotte, Raleigh, Wilmington, and across state lines to Virginia, South Carolina,

     and Florida, to engage in sexual acts in exchange for money. Rivard posted the

     women’s images on Backpage, an online classified advertising website, to solicit and

     schedule customers. A.C.’s advertisement was posted at least 197 times in three

     cities. M.F. was posted 219 times in at least three cities.

¶5         In March 2015, J.O. alleged she was forced to perform sexual acts for money

     against her will, while she was restrained in a basement and after being transported

     to Charlotte. On 18 March 2015, Defendant was arrested and charged with second-

     degree kidnapping, human trafficking and sexual servitude. On 2 April 2015, police
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     searched the home located on Cedarwood Avenue in Spring Lake where J.O. alleged

     she had been held. Rivard was also arrested.

¶6         Defendant was indicted on 14 November 2016 for multiple charges of human

     trafficking, promoting prostitution, and conspiring to promote prostitution against

     six alleged victims. On 2 January 2018, corresponding habitual felon indictments

     were issued in each of the previously indicted files. Defendant was also indicted on

     the following additional charges against alleged victim J.O. for second degree

     kidnapping and attaining habitual felon status.

                                  A. Competency Hearing

¶7         Defendant was ordered to undergo an examination at Central Regional

     Hospital to determine his capacity to proceed to trial. Dr. Charles Vance, a forensic

     psychiatrist, conducted an initial forensic interview on 8 September 2016, with a final

     evaluation dated 10 November 2016. He found Defendant was mentally competent

     to proceed to trial. On 18 January 2017, Superior Court Judge James Ammons

     conducted a competency hearing. The court heard Dr. Vance’s testimony concerning

     his evaluation of Defendant and his opinion concluding Defendant understood the

     charges against him and was competent to stand trial.          Defendant was found

     competent to stand trial.

¶8         On 29 January 2019, another hearing on Defendant’s capacity was held by

     Superior Court Judge Thomas Locke. Defendant was represented by counsel. On its
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own motion, the court received into evidence a report submitted from Dr. Vance dated

October 2016. The court engaged in lengthy discussions with Defendant regarding

his medical condition, capacity to proceed, and his stated desire to represent himself

throughout the hearing. The court entered its findings and conclusion:

             THE COURT: As seen by Dr. Charles Vance at Central
             Regional Hospital during the period of time between
             September 14, 2016 and October 5, 2016. That Dr. Vance
             conducted an extensive examination of the defendant and
             prepared a nine-page report, that Dr. Vance concluded that
             the defendant is, quote, quite cynical and mistrustful,
             closed quote, in that he suffers from an unspecified
             personality disorder, cocaine use disorder, opiate use
             disorder, illness anxiety disorder and has some history of
             malingering but that Dr. Vance found that Mr.
             Applewhite’s displayed behaviors do not rise to the level of
             negating his fundamental capacity to proceed to trial. Dr.
             Vance rather opined that Mr. Applewhite demonstrated a
             good understanding of the nature and object of the
             proceedings against him and that he likewise
             comprehended his position in reference to these proceedings.
             In fact, Mr. Applewhite does maintain the ability to work
             with his attorney in a rational and reasonable manner in
             the preparation of his defense if he so chooses. Dr. Vance
             further found that in his opinion Mr. Applewhite was
             competent. Based upon this report, based upon the
             representations of [counsel] . . . he has not questioned the
             defendant’s mental capacity, based upon the Court’s
             observations of the defendant and the state moreover not
             questioning the defendant’s capacity, the Court does find
             and concludes as a matter of law that the defendant is able
             to understand the nature and object of the proceedings
             against him. He is able to comprehend his own situation in
             reference to the proceedings and he is able to assist in the
             defense in a rational or reasonable manner in that he does
             possess the capacity to proceed. (emphasis supplied).
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                                              B. Trial

¶9           Defendant was represented by several attorneys prior to waiving his right to

       counsel and choosing to proceed pro se to trial.

¶ 10         On the morning of trial on 18 February 2019, and numerous times throughout

       the pendency of the case, Defendant demanded to represent himself. Defendant

       waived his right to counsel. The court appointed stand-by counsel.

¶ 11         Defendant filed a motion to continue the trial, stating he did not believe he was

       mentally competent due to a medical condition which caused an increase in ammonia

       in his blood to a point where he can become delusional. The trial court considered

       and determined Defendant was taking his medication and was not actively

       experiencing delusions.    Based on its own observations and interactions with

       Defendant, the court denied Defendant’s motion to continue the trial. The court

       periodically confirmed Defendant received his medication throughout the trial.

¶ 12         During trial, A.C. testified numerous other women had similar working

       arrangements with Defendant and Rivard.            The couple posted classified ads on

       Backpage and rented hotel rooms in various cities, including Fayetteville,

       Greensboro, Raleigh, Charlotte, Wilmington, Jacksonville, Roanoke, Myrtle Beach

       and Orlando. A.C. testified she relied upon Defendant to supply the heroin she

       needed to avoid going into withdrawal and for her meals. A.C. testified Defendant

       might dispense food and drugs generously, or, if he was upset, would withhold them.
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¶ 13         H.M. and A.B. testified to having similar experiences with Defendant and

       Rivard, as A.C. had described. They also testified regarding M.F., her addiction to

       heroin, and being held by Defendant for acts of sexual servitude. M.F. died before

       Defendant’s trial began.

¶ 14         The jury returned unanimous verdicts and found Defendant guilty of five

       counts of human trafficking A.C. over a period of two months; two counts of human

       trafficking H.M over a period of two months; two counts of human trafficking M.F.

       over a period of one month; and three counts of trafficking A.B. over a period of fifteen

       months. The jury found Defendant not guilty of two counts of human trafficking E.C.

       and not guilty of three counts of human trafficking J.O.

¶ 15         The State calculated fourteen prior record points and sentenced Defendant as

       a prior record level five.     The fourteen prior record points were based upon

       Defendant’s four previous felony convictions and two previous Class 1 misdemeanor

       convictions, which were separate from the three prior felony convictions used to

       establish Defendant’s habitual felon status.

¶ 16         Defendant was ordered to register as a sex offender and received an active total

       sentence of 2,880 to 3,744 months. Defendant appeals.

                                       II.      Jurisdiction

¶ 17         This appeal is properly before this Court pursuant to N.C. Gen. Stat. §§ 7A-

       27(b)(1) and 15A-1444(a) (2019).
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                                          III.    Issues

¶ 18         Defendant raises four issues on appeal, whether: (1) the trial court abused its

       discretion in allowing Defendant to represent himself; (2) the trial court lacked

       subject matter jurisdiction over the human trafficking charges; (3) the trial court

       erred in entering judgment for multiple counts of human trafficking for each victim;

       and, (4) the trial court erred in determining Defendant’s prior record level.

                                        IV.      Argument

                      A. Defendant’s Competency to Represent Himself

¶ 19         “[W]here matters are left to the discretion of the trial court, appellate review

       is limited to a determination of whether there was a clear abuse of discretion.” State

       v. Beck, __ N.C. App. __, ___, 2021-NCCOA-305, ¶ 28, 861 S.E.2d 575, 582 (2021)

       (citation omitted).

¶ 20         Defendant argues the trial court’s statements concluding he had an “absolute

       right” to represent himself and the court’s failure to consider whether Defendant fell

       into the “gray area” of being competent enough to waive counsel is a mistake of law

       that requires a new trial.

¶ 21         The Sixth Amendment to the Constitution of the United States gives a criminal

       defendant the “right to proceed without counsel when he voluntarily and intelligently

       elects to do so.” Faretta v. California, 422 U.S. 806, 807, 45 L. Ed. 2d 562, 566 (1975).

¶ 22         Our Supreme Court has considered whether a defendant, who falls within the
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       “borderline competent” or “gray area” of defendants with mental illness, should be

       precluded from self-representation. State v. Lane, 365 N.C. 7, 18, 707 S.E.2d 210, 217
       (2011). “Borderline competent” was defined as “defendants who are competent to

       stand trial[,] but nonetheless lack the capacity to conduct trial proceedings without

       the assistance of counsel.” Id. at 19, 707 S.E.2d at 218.

¶ 23         In Lane, the defendant insisted on proceeding pro se on first-degree murder

       and statutory rape charges. Id. at 18, 707 S.E.2d at 217. During his competency

       hearing, the court concluded the defendant was largely illiterate, suffered from an

       anxiety disorder and possible Post Traumatic Stress Disorder, but determined

       defendant’s emotional, psychological, and mental difficulties did not render the

       defendant incompetent to proceed to trial and to make his own decisions. Id. at 16-

       17, 707 S.E.2d at 216. The defendant requested standby counsel to represent him on

       the day of trial. Id. The defendant was found guilty of first-degree murder and felony

       murder, first-degree kidnapping, first-degree statutory rape, first-degree statutory

       sex offense, and indecent liberties. Id. at 17, 707 S.E.2d at 217.

¶ 24         Our Supreme Court remanded to the trial court to determine if the defendant

       fell into the “borderline competent” category. Id. at 18, 707 S.E.2d at 217. Upon

       remand, and based on expert testimony of a psychiatrist and two competency

       hearings, the trial court found:

                    defendant at all times understood the nature and object of
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                     the proceedings against him, comprehended his own
                     situation in reference to those proceedings, and was able to
                     assist in his defense in a rational manner, such that any
                     . . . failure regarding his comprehension of his own
                     situation in reference to the proceedings was or would be a
                     result of defendant’s willful, volitional failure to consider
                     discovery and the evidence against him.

       Id. at 18–19, 707 S.E.2d at 217. Our Supreme Court concluded the defendant received

       a fair trial, free of prejudicial error. Id. at 40, 707 S.E.2d at 230.

¶ 25          The Supreme Court of the United States addressed this issue and held “a

       defendant who waives his right to the assistance of counsel [does not have to] be more

       competent than a defendant who does not, since there is no reason to believe that the

       decision to waive counsel requires an appreciably higher level of mental functioning

       than the decision to waive other constitutional rights.” Godinez v. Moran, 509 U.S.

       389, 399, 125 L. Ed. 2d 321 (1993).

¶ 26          Further, “the competence that is required of a defendant seeking to waive his

       right to counsel is the competence to waive the right, not the competence to represent

       himself.” Id. at 399, 125 L. Ed. 2d at 321. “[T]he trial judge will often prove best able

       to make more fine-tuned mental capacity decisions, tailored to the individualized

       circumstances of a particular defendant.” Lane, 365 N.C. at 21, 707 S.E.2d at 219
       (quotation marks omitted).

¶ 27          The Supreme Court stated the standard for competency “is whether the

       defendant has sufficient present ability to consult with his lawyer with a reasonable
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       degree of rational understanding and has a rational as well as factual understanding

       of the proceedings against him.” Godinez, 509 U.S. at 396, 125 L. Ed. 2d at 330
       (citation and quotation marks omitted).

¶ 28         In Indiana v. Edwards, the defendant had three competency hearings and the

       trial court dealt with a defendant who had been diagnosed with schizophrenia,

       repeatedly deemed incompetent by four separate disinterested psychiatrists and the

       court, based upon incoherent writings, delusions, and continuing schizophrenia, such

       that the State was worried about his ability to proceed pro se. Indiana v. Edwards,

       554 U.S. 164, 167-69, 171 L. Ed. 2d 345, 351-52 (2008). Unlike the defendant in

       Edwards, Defendant here did not have a long-established and documented history of

       serious mental illness.

¶ 29         Here, the trial court recognized, as the Supreme Court did in Edwards, that

       neither the State could limit representation, nor that Defendant lacked the mental

       capacity to conduct his own trial. See Edwards, 554 U.S. at 173, 171 L. Ed. 2d at 355.

       Godinez not Edwards applies to the instant case. Nothing in Edwards overrules the

       holding in Godinez that the Constitution of the United States permits a defendant

       who is competent to stand trial, may also waive his right to counsel and represent

       himself. Edwards, 554 U.S. at 172-174, 171 L. Ed. 2d at 353-55.

¶ 30         The record and the substantial interaction between the court and Defendant

       shows the court undertook a thorough and realistic account of Defendant’s mental
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       capacities and competence before concluding Defendant was competent to waive

       counsel and to proceed pro se. As in Lane, separate trial judges held two competency

       hearings regarding Defendant’s mental capacity.

¶ 31         After interacting with Defendant, considering Defendant’s medical conditions,

       testimony from Dr. Vance, and Dr. Vance’s forensic psychiatric evaluation of

       Defendant, two judges ruled Defendant was competent to proceed and to represent

       himself.

¶ 32         The trial court gave Defendant several opportunities to consider whether he

       wanted to be represented by counsel, and inquired whether Defendant’s decision was

       being made freely, voluntarily, and intelligently. Defendant demanded to represent

       himself numerous times.

¶ 33         Even were we to agree the trial court erred in allowing Defendant to represent

       himself, Defendant has made no showing he was prejudiced by his lack of counsel.

       Stand-by counsel was available to assist and was consulted to assist Defendant in

       navigating the proceedings.

¶ 34         Defendant was appointed several attorneys and disagreed with their methods

       of representation and recommendations.         Any error in regard to his lack of

       representation claims was invited by Defendant. For these reasons, and because

       Defendant’s self-representation had no bearing on this issue, Defendant cannot show

       prejudice. Further, given the overwhelming evidence against Defendant of criminal
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       activity, any asserted error was harmless beyond a reasonable doubt. The trial

       court’s conclusion that Defendant was competent to stand trial and waive his right to

       counsel is affirmed.

                                 B. Sufficiency of Indictments

¶ 35         Defendant argues the indictments against him are insufficient because they

       are too general and were drafted to make it unclear of what conduct he was being

       accused.

¶ 36         The purpose of an indictment is “to identify clearly the crime being charged,

       thereby putting the accused on reasonable notice to defend against it and prepare for

       trial, and to protect the accused from being jeopardized by the State more than once

       for the same crime.” State v. Creason, 313 N.C. 122, 130, 326 S.E.2d 24, 29 (1985).

¶ 37         “[W]here an indictment is alleged to be invalid on its face, thereby depriving

       the trial court of its jurisdiction, a challenge to that indictment may be made at any

       time.” State v. Wallace, 351 N.C. 481, 503, 528 S.E.2d 326, 341 (2000). Under the

       North Carolina Constitution, an indictment is sufficient if it alleges every element of

       the offense. See State v. Greer, 238 N.C. 325, 327, 77 S.E.2d 917, 919 (1953).

¶ 38         Here, Defendant was charged in seventeen indictments with human

       trafficking of six different victims. The prosecutor charged Defendant with three

       counts of trafficking J.O. in a five-day period, five counts of trafficking A.C. in a

       thirteen-month period, two counts of trafficking H.M in a three-month period, two
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       counts of trafficking E.C. in a one-month period, three counts of trafficking A.B. in a

       sixteen-month period and one count of trafficking M.F. in a thirteen-month period.

       Each indictment for human trafficking included the following language:

                      Between and including [DATE RANGE], in the County
                      named above, the defendant named above unlawfully,
                      willfully, and feloniously did knowingly or in reckless
                      disregard of the consequences of the action, did recruit,
                      entice, harbor, transport, provide, or obtain by any
                      means another person [NAME OF VICTIM] with the
                      intent that the other person, [NAME OF VICTIM], be
                      held in sexual servitude. This act was in violation of
                      North Carolina General Statutes Section 14-43.11(a).

¶ 39            N.C. Gen. Stat. § 14-43.11(a)(i) (2019) is unambiguous and defines “human

       trafficking” as occurring when the perpetrator “knowingly or in reckless disregard of

       the consequences of the action recruits, entices, harbors, transports, provides, or

       obtains by any means another person with the intent that the other person be held

       in involuntary servitude or sexual servitude.” The language used in the indictments

       in this case tracks the language of the statute word for word.

¶ 40            The indictments allege every element of the offense within a specific timeframe

       for each separate victim. See Greer, 238 N.C. at 327, 77 S.E.2d at 919.             The

       indictments clearly allege the crimes of which Defendant was being charged and gave

       him notice to prepare and assert his defense. See Creason, 313 N.C. at 130, 326 S.E.2d

       at 29.

¶ 41            Defendant does not identify any essential element of human trafficking
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       omitted in his indictments. He alleges the indictments fail to specify facts that will

       protect him from double jeopardy, or, alternatively, that the indictments are

       multiplicitous. “If Defendant required greater specificity, he could have moved for a

       bill of particulars under N.C. Gen. Stat. § 15A-925 (2019) and/or for a special verdict

       sheet under N.C. Gen. Stat. § 15A-1340.16 (2019).” State v. Flow, __ N.C. App. __, __,

       2021-NCCOA-183 ¶ 70, 859 S.E.2d 224, 233 (2021). Defendant failed to move for

       either clarification here.

¶ 42         The State’s case provided an in-depth explanation of how it arrived at the

       indictments charged against Defendant. The prosecutor took into consideration the

       victims’ statements and evidence available when Defendant was charged with

       seventeen counts of human trafficking. These generalizations are risks prosecutors

       take in cases, as in illicit drug sales or child sex crimes, where multiple offenses may

       occur and continue for long periods of time.

¶ 43         Upon a later claim for double jeopardy, which issue is not before us, the burden

       would be on the State to find and present new evidence for other crimes not alleged

       here. Defendant’s argument the indictments are insufficient is without merit and

       overruled.

                         C. Human Trafficking as a Separate Offense

                                       1. Standard of Review

¶ 44         Whether convictions are part of one continuing transaction such that the
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       multiple convictions violate double jeopardy, a motion to dismiss preserves the issue

       for appellate review. State v. Calvino, 179 N.C. App. 219, 632 S.E.2d 839 (2006). This

       issue is preserved for review by Defendant’s motion to dismiss for insufficient

       evidence. In reviewing the trial court’s denial of a motion to dismiss, this Court

       determines whether substantial evidence of each essential element of the offense is

       admitted, when the evidence is reviewed in the light most favorable to the State. State

       v. Lynch, 327 N.C. 210, 393 S.E.2d 811 (1990).

                                    2. Separate or Continuous

¶ 45         N.C. Gen. Stat. § 14-43.11 states:

                    (a) A person commits the offense of human trafficking
                    when that person (i) knowingly or in reckless disregard of
                    the consequences of the action recruits, entices, harbors,
                    transports, provides, or obtains by any means another
                    person with the intent that the other person be held in
                    involuntary servitude or sexual servitude or (ii) willfully or
                    in reckless disregard of the consequences of the action
                    causes a minor to be held in involuntary servitude or sexual
                    servitude.

                    (b) A person who violates this section is guilty of a Class C
                    felony if the victim of the offense is an adult. A person who
                    violates this section is guilty of a Class B2 felony if the
                    victim of the offense is a minor.

                    (c) Each violation of this section constitutes a separate
                    offense and shall not merge with any other offense.

       N.C. Gen. Stat. § 14-43.11(a)-(c) (2019) (emphasis supplied).

¶ 46         Defendant argues the General Assembly did not intend to punish an offender
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       multiple times for what he asserts is the same continuing crime by allowing a

       prosecutor to charge countless offenses for each separate act an offender took in order

       to hold a victim in sexual servitude. Defendant’s and the dissent’s interpretation of

       the statute disregards the words “entice” and “harbor” and would result in

       perpetrators exploiting victims for multiple acts, in multiple times and places,

       regardless of the length of the timeframe over which the crimes occurred as long as

       the Defendant’s illegal actions and control over the victim were “continuous.”

¶ 47         Whether Defendant’s actions violate the elements of the statute is ultimately

       a matter of fact for the jury to determine. The jury acquitted Defendant on five counts

       of human trafficking of J.O. and E.C. Sufficient evidence was presented to the jury

       to enable it to unanimously reach its verdicts with care and discernment as between

       the evidence presented of various charges and multiple victims.

¶ 48         The statute and intent of the General Assembly are clear.            Defendant’s

       arguments asserting human trafficking is a continual offense, analogous to

       kidnapping without a separate asportation, and may only be charged as one crime for

       each victim is without merit and overruled.

                                      3. Substantial Evidence

¶ 49         Defendant acknowledges the plain language of the human trafficking statute

       specifically indicates each violation constitutes a separate offense and does not merge.

       N.C. Gen. Stat. § 14-43.11(c). He argues what is not clear is what facts must coalesce
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       to constitute each violation.

¶ 50         “Substantial evidence is defined as such relevant evidence as a reasonable

       mind might accept as adequate to support a conclusion.” State v. Smith, 300 N.C. 71,

       78–79, 265 S.E.2d 164, 169 (1980).       “[T]he question for the court is whether a

       reasonable inference of defendant’s guilt may be drawn from the circumstances. . . .

       the jury [is] to decide whether the facts, taken singly or in combination, satisfy [it]

       beyond a reasonable doubt that the defendant is actually guilty.” State v. Poole, 24

       N.C. App. 381, 384, 210 S.E.2d 529, 530 (1975) (citations and quotation marks

       omitted).

¶ 51         Here, three victims and Rivard testified how Defendant controlled the women

       with heroin, advertised them through multiple solicitations on online message

       boards, and required them to perform multiple sexual acts with customers for money

       in exchange for drugs, food, transportation, and shelter. All three women testified

       Defendant had kept the victims in his home or in hotel rooms and drove them to a

       number of cities for them to be held in sexual subjugation and insisted they

       communicate with every customer. These victims also corroborated the testimony of

       other victims, despite the fact that many of them had not previously met. Viewed in

       a light most favorable to the State, Defendant has presented nothing to warrant

       reversal of the trial court’s denial of Defendant’s motion to dismiss.

¶ 52         Whether sufficient evidence supports each conviction of human trafficking is
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       for a jury to decide upon its review of the duly-admitted evidence and the demeanor

       and credibility of the witnesses, properly instructed on the applicable laws. The trial

       court’s denial of Defendant’s motion to dismiss is affirmed.

                                     D. Prior Record Level

                                     1. Standard of Review

¶ 53         “The determination of an offender’s prior record level is a conclusion of law that

       is subject to de novo review on appeal. Under a de novo review, the court considers

       the matter anew and freely substitutes its own judgment for that of the lower

       tribunal.” State v. Green, 266 N.C. App. 382, 385, 831 S.E.2d 611, 614 (2019) (internal

       citations and quotation marks omitted).

                                            2. Stipulation

¶ 54         Defendant argues his 1994 possession of drug paraphernalia conviction should

       not have been used in determining his prior record level. When assessing a sentence

       imposed by the trial court, the standard of review is to determine “whether the

       sentence is supported by evidence introduced at the trial and sentencing hearing.”

       State v. Sanders, 225 N.C. App. 227, 228, 736 S.E.2d 238, 239 (2013).

¶ 55         Each of a defendant’s prior convictions, proven by a preponderance of the

       evidence, is assigned points, which are used to calculate the prior record level of a

       felony offender. See N.C. Gen Stat. §15A-1340.14 (2019). Proof of a prior conviction

       can be established by, “(1) a stipulation of the parties,” or “(4) [a]ny other method
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       found by the court to be reliable.” N.C. Gen. Stat. § 15A-1340.14(f)(1),(4) (2019). “[A]

       defendant need not make an affirmative statement to stipulate to his . . . prior record

       level . . . particularly if [he] had an opportunity to object to the stipulation in question

       but failed to do so.” State v. Alexander, 359 N.C. 824, 829, 616 S.E.2d 914, 918 (2005).

¶ 56          In State v. Boyd, a pro se defendant made no comment from which this Court

       could infer his stipulation to his prior record. State v. Boyd, 200 N.C. App. 97, 104,

       682 S.E.2d 463, 468 (2009). While the court reviewed defendant’s worksheet, the

       defendant asked, “What does that mean?” Id.                The defendant clearly did not

       understand the prior record worksheet, let alone stipulate to it. This Court compared

       the defendant in Boyd with the defendant in State v. Alexander. In Alexander, the

       defendant’s counsel recognized the defendant had no prior convictions to point to, so

       counsel was aware of the record and there was nothing to object to. Alexander, 359

       N.C. at 830, 616 S.E. 2d at 918.

¶ 57          Here, the State presented the sentencing worksheet and orally stated it had

       found Defendant to have accrued a total of fourteen points, making him “level five for

       felony sentencing purposes.” In response, Defendant asserted his reason for not

       signing the stipulation was the State implied he would be a record four or five, and

       Defendant thought he would be a level four. Defendant contested he was a level five

       because of the misdemeanor convictions. Defendant then addressed the points given

       for the convictions of injury to real property and possession of drug paraphernalia,
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       and not the felon possessing a firearm charge. Defendant reviewed and understood

       the prior record worksheet sufficiently to engage with the court on some former

       charges, while not addressing others.

¶ 58         After the State presented its evidence, the trial judge asked Defendant if there

       was “any evidence of other showing [Defendant] wish[ed] to make for purposes of

       sentencing.” After conferring with standby counsel, the trial judge offered Defendant

       an opportunity to say, “anything at all . . . regarding sentencing.” Defendant did not

       question nor address the State’s calculation of points.

¶ 59         While Defendant may not have “stipulated” to the worksheet itself in writing,

       Defendant failed to object to the classification of the felony firearm possession as a

       Class G felony each time he was presented an opportunity. Defendant’s argument is

       more in line with the defendant in Alexander. Defendant reviewed and understood

       the prior record worksheet, and he objected to portions of it. See Alexander, 359 N.C.

       at 830, 616 S.E. 2d at 918.     By his silence, Defendant cannot now contest the

       remaining convictions to calculate his prior record level. Defendant’s argument is

       overruled.

                              3. Prejudice or Substantially Similar

¶ 60         Defendant argues the State did not prove substantial similarity between the

       federal and state offenses of a felon in possession of a firearm and the firearm charge

       was improperly classified as a Class G felony.           Defendant argues because the
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                                          Opinion of the Court



       timeframe the crimes against A.B. and M.F. occurred is after 1 December 2014, when

       N.C. Gen. Stat. § 90-113.22A went into effect, the State is required to prove the

       Defendant’s possession of drug paraphernalia conviction was related to a controlled

       substance other than marijuana.

¶ 61         Whether the State has to prove a paraphernalia conviction does not involve

       marijuana paraphernalia is controlled by State v. Green, 266 N.C. App. 382, 831

       S.E.2d 611, (2019).    In Green, the defendant contended the trial court erred in

       classifying a 1994 paraphernalia conviction as a Class 1 misdemeanor because the

       State did not prove the paraphernalia conviction was unrelated to marijuana. Id. at

       388, 831 S.E. 2d at 616. The governing statute for the crime of paraphernalia only

       had one classification at the time the defendant’s conviction but was “subsequently

       divided . . . into two different classifications depending on the type of drug

       paraphernalia possessed.” Id.
¶ 62         Here, similar to the analysis for the Class G federal firearm conviction,

       Defendant was made aware of the State’s intention to use the 1994 paraphernalia

       conviction in calculating his prior record level, as it was listed on the same sentencing

       sheet as the Class G federal firearm conviction. Defendant acknowledged “possession

       of drug paraphernalia . . . [is] a misdemeanor.”

¶ 63         The trial court responded the paraphernalia conviction “is noted as a

       misdemeanor on the worksheet,” to which Defendant responded, “Yes, Your Honor.”
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                                          Opinion of the Court



       Defendant indicated from his understanding of the charge he “contest[s] that [he is]

       a level five.” The trial court provided Defendant an opportunity to confer with

       standby counsel, stated Defendant will “have the opportunity to offer evidence” for

       his contention that he was not a prior record level five. Defendant chose not to do so.

¶ 64         As noted above, a defendant may concede to a conviction through silence in

       some circumstances. See Alexander, 359 N.C. at 828-29, 616 S.E.2d at 917-18.

       “Defendant—as the person most familiar with the facts surrounding his offense—

       stipulated that his [prior] conviction was classified as a Class 1 misdemeanor. Thus,

       Defendant was stipulating that the facts underlying his conviction justify that

       classification.” Green, 266 N.C. App at 388, 831 S.E.2d at 616 (citations and internal

       quotation marks omitted).

¶ 65         By not objecting to the inclusion of the paraphernalia conviction when given

       an opportunity, and by not presenting any evidence to support his contention,

       Defendant left the trial court without a means to determine the validity of his

       contention. The trial court’s classification of Defendant’s 1994 possession of drug

       paraphernalia conviction as a Class 1 misdemeanor and inclusion on the worksheet

       was proper for purposes of determining Defendant’s prior record level. Defendant

       has failed to show any error in the trial court’s determination of his prior record level.

       His argument is overruled.

                                         V.     Conclusion
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                                          Opinion of the Court



¶ 66         Defendant was competent to waive counsel, to stand trial, and proceed pro se.

       The indictments sufficiently asserted each element of the charged crimes. Human

       trafficking is statutorily defined as a separate offense for each instance and the

       statute expressly provides the offenses do not merge.

¶ 67         The trial court did not err in sentencing. Defendant received a fair trial, free

       from prejudicial error he preserved or asserted. We find no error in the jury’s verdicts

       or in the judgments entered thereon. It is so ordered.

             NO ERROR.

             Judge DIETZ concurs.

             Judge ARROWOOD concurs in part and dissents in part by separate opinion.
        No. COA20-610 – State v. Applewhite


              ARROWOOD, Judge, concurring in part and dissenting in part.


¶ 68          I respectfully dissent from the majority’s opinion that the trial court properly

       convicted defendant of multiple counts per victim of human trafficking. In what is

       an issue of first impression for our Courts, the majority has ruled that a violation of

       North Carolina’s human trafficking statute does not constitute a continuing offense.

       However, our precedent—specifically, past issues of first impression addressing

       statutory construction—clearly instructs that, where a criminal statute does not

       define a unit of prosecution, a violation thereof should be treated as a continuing

       offense.

¶ 69          Here, I do not dispute that defendant is guilty of human trafficking violations,

       nor do I dispute that the facts on the Record paint a chilling and horrifying picture

       for each of the alleged victims. However, as I will discuss in more detail as follows,

       the State has failed to show defendant should be convicted on multiple counts of

       human trafficking per victim, as opposed to a single, continuing count per victim.

¶ 70          Additionally, in this specific case, convicting defendant of one count of human

       trafficking per victim1 would have the effect of reducing defendant’s prison sentence

       from a term of 240-to-312 years to a term of 160-to-208 years—in other words, it

       would leave undisturbed the fact that defendant will spend the rest of his natural life

       in prison.


       1 Specifically, the four victims the jury found defendant had trafficked:   A.C., H.M., A.B.,
       and M.F.
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                         ARROWOOD, J., concurring in part and dissenting in part



¶ 71         Thus, I would remand this case with instruction to vacate all but one count of

       trafficking per victim. I concur in the result with the majority’s opinion with regard

       to the remaining issues on appeal.

¶ 72         Defendant was indicted on 17 counts of human trafficking involving six victims

       in violation of N.C. Gen. Stat. § 14-43.11, which in pertinent part provides:

                    (a) A person commits the offense of human trafficking
                        when that person . . . knowingly or in reckless disregard
                        of the consequences of the action recruits, entices,
                        harbors, transports, provides, or obtains by any means
                        another person with the intent that the other person be
                        held in involuntary servitude or sexual servitude . . . .

                    (b) A person who violates this section is guilty of a Class C
                        felony if the victim of the offense is an adult. . . .

                    (c) Each violation of this section constitutes a separate
                        offense and shall not merge with any other offense.

       N.C. Gen. Stat. § 14-43.11 (2019)

¶ 73         Each indictment under which defendant was convicted was a short form

       indictment alleging that from Date A to Date B (these dates usually being over a

       several-month period and with same dates on each of multiple indictments for each

       victim) defendant “did recruit, entice, harbor, transport, provide or obtain by any

       means another person, [the victim,] with intent that the other person, [the same

       victim], be held in sexual servitude.”

¶ 74         During the charge conference at trial, the trial court initiated a discussion of
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                             ARROWOOD, J., concurring in part and dissenting in part



       whether the violation of human trafficking law constituted a continuing offense:

                      It appears to the Court by my count that [defendant] is
                      charged with a total of 17 counts of human trafficking,
                      basically one in each of the case file numbers 16 CRS 2685
                      through 16 CRS 2701.

                      ....

                      I mean, the same dates of offense are alleged with each
                      particular woman. Help me understand why human
                      trafficking is not simply a continuing offense. To be more
                      specific, why there should not simply be one human
                      trafficking charge with regard to each of the alleged
                      victims, each woman?

¶ 75            To this, the State replied, reading from subsection (c) of N.C. Gen. Stat. § 14-

       43.11:

                      So, every violation of this section constitutes a separate
                      offense and shall not merge with any other offense. . . . So,
                      every single act the [d]efendant committed is a separate
                      offense. So, when I sat down through the process of
                      deciding what to indict, every time the [d]efendant drove
                      one of the victims or his co-[d]efendant drove one of the
                      victims to a different location, posted them on Backpage,
                      did one of these other things, that was yet another offense
                      of human trafficking.

¶ 76            The trial court continued: “How am I to distinguish and how is the jury to

       distinguish each of these alleged acts involving [J.O.], or [A.C.], or so forth?” The

       State then explained how it had created “a list” in which it illustrated how certain

       events corresponded to specific acts. The State also claimed it had, though it was not

       required to do so, “limited tremendously unnecessarily” the number of charges
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                           ARROWOOD, J., concurring in part and dissenting in part



       against defendant, further claiming it “could have indicted 250 counts . . . under the

       [human trafficking] statute.” The State explained it had “alleged the things in the

       statute or in the indictment as appropriate” and “laid it out so [the State] ha[d] a

       guide” that it “intended to go through with the jury. This defendant with the victim

       did these three things he’s charged with.”

¶ 77         The trial court requested to see the State’s list. After the trial court obtained

       the State’s list, and following discussions between the State and the trial court about

       the prosecutor’s shorthand notes on the State’s list, the trial court stated:

                    But it still seems to me this jury is going to be extremely
                    confused if the Court does not help the jury distinguish
                    between these various counts of human trafficking in some
                    fashion. And I cannot do it by the dates here since the same
                    dates are alleged -- same range of dates for each count.

                    ....

                    [I]t’s also the Court’s job to make sure that the jury
                    understands the instructions and understands the charges
                    the jury has to consider. So, I go back to my original
                    question.

                    ....

                    How do I distinguish so that the jury understands, among
                    these various charges of human trafficking with regard to
                    these victims. That each of the alleged victims have more
                    than one human trafficking charge involved?

¶ 78         The State replied:

                    I legally don’t think you have to. I legally think -- and if --
                    I may be completely overestimating my ability to impart to
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                   ARROWOOD, J., concurring in part and dissenting in part



              the jury what I intend to impart to the jury is let’s say a
              victim has three counts of human trafficking. If you believe
              this [d]efendant did one of these three things -- any of the
              ways that human trafficking could be done based on the
              evidence you heard, you can find him guilty of those three
              counts of human trafficking.

¶ 79   After a brief recess, the trial court, stated:

              Accordingly, the State will submit each of the trafficking
              offenses -- human trafficking offenses charged as to each
              female. So, that means, of course, Madam Clerk that there
              will be . . . three trafficking offenses with regard to [J.O.],
              five with regard to [A.C.], two with regard to [H.M.], two
              with regard to [E.C.], three with regard to [A.B.], two with
              regard to [M.F.].

¶ 80   During the State’s closing argument, one of the prosecutors stated as follows:

              Human trafficking. . . . You are going to hear words like
              recruit, entice, harbor, transport, obtain by any means. All
              of those things, that one act, is a separate act of human
              trafficking. Let’s take one of the -- any of the victims.

              You have a recruitment conversation, come work for me,
              join the team. I can give you good heroin. I can give you a
              place to stay. That is an act of human trafficking, to recruit
              another person for this purpose. That’s one thing that you
              can do. To transport is another thing that you can do. This
              is why we talk about specific acts that were done by
              [defendant] with the victims and what they did to do his
              operation.

              Every time he put a girl in a car and drove them to Raleigh
              that would be transportation. That was an act of human
              trafficking, because it was for the purpose of sex for money
              and coercion was used. We will talk about those in a
              second. But every single time he put one of these girls in
              the car to do this business, that was an act of human
              trafficking.
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                           ARROWOOD, J., concurring in part and dissenting in part



                    ....

                    Every single act is a separate act of human trafficking. Do
                    they recruit or do any of these things to work as a prostitute
                    and there is coercion? Now, coercion can come in two forms
                    in this case. Coercion -- as you understand it, threats of
                    force, know [sic] violent acts, slapping somebody around,
                    you’re going to go in this room and do this thing. To be
                    certain those are acts of coercion. But another way coercion
                    can be proven in the State of North Carolina is by the
                    delivery of a controlled substance, period.

                    So, what human trafficking boils down to are these three
                    things, that he committed one of these acts: recruiting,
                    enticing, harboring, transporting, providing, obtaining
                    person for the purposes of prostitution, and delivery of
                    controlled substances. I think about the evidence and as
                    you heard from each of the victims and put those two things
                    together, every time one of these acts is committed that’s
                    another human trafficking count.

¶ 81         Then, the State went on to discuss the victims. As the Record shows, as follows,

       the State does not individualize each human trafficking charge, as it had told the trial

       court it would do. In fact, the State does not elucidate or distinguish between the

       charges per victim at all.

¶ 82         First, the State discussed the charges involving J.O. as an example of what the

       jurors should expect to find on the verdict sheets; the State did not address the

       charges of human trafficking or the events involving J.O. specifically.

¶ 83         Then the State discussed the trafficking charges involving A.C.:

                    [T]hey’re going to have five different pieces of paper with
                    [A.C.] as the victim.
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                    ARROWOOD, J., concurring in part and dissenting in part



             ....

             So, when you start your conversation and this kind of gets
             into the obnoxious part, you’re going to go, we heard so
             much. We heard so much. He did so many things with
             [A.C.]. You’re right. He did. So, what do you do with that?
             Now, as an example with [A.C.], you can traffic by
             transportation for example, right? And there are going to
             be five counts of human trafficking. If you believe that he
             transported her or [co-defendant] did so and they were
             working together, five times, and the other elements are
             met, you’re done. Check the block and those are five counts
             of human trafficking.

             ....

             And here’s the interesting thing. If five of you think that
             he transported her five times and seven of you think that
             he enticed her five times, you don’t have to agree, as long
             as each of you agree that he did each of the things -- he did
             one of the things. You don’t have to -- we don’t have to
             prove that he transported and enticed and did all these
             things. We just have to prove one of those things, that first
             count. So, it’s incredibly simple if it kind of boils down to
             that and you don’t have to agree as to which one, on each
             offense. You just don’t.

             So, when you start your discussions, you’re going to have
             those conversations. Well, how many times do you think
             he enticed her, or he harbored her or he transported her, I
             mean, you’re already done. You’ve done all three of those
             things. That’s three right there. Did he transport her more
             than twice? Sure. Did he harbor her? Every day. Every
             day she was prostituting and he was harboring her, giving
             her a place to stay that he was paying for, that’s human
             trafficking.

¶ 84   Regarding the charges involving H.M., the State stated:

             [Y]ou’re not going to have a hard time finding that he
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                          ARROWOOD, J., concurring in part and dissenting in part



                     transported her twice to different cities and that he
                     harbored her or that he recruited her. Just a conversation
                     he had before she started working for him is trafficking.
                     He had that initial recruitment conversation, hey get on
                     the team, come work for me. Maybe he had another one
                     later. And so he recruited and he transported, and he
                     enticed her to make money as a prostitute and for buying
                     her drugs to do so.

¶ 85          Next, the State discussed E.C. and A.B.:

                     [E.C.], you didn’t see, but you heard about. There are going
                     to be two different counts with her. . . . [E.C.], she wasn’t
                     there for long. That’s why you will only have two counts.
                     [A.B.] testified you are going to have these different counts
                     as well. Again, it starts with a case number. You’re going
                     to have those three human trafficking, promotion of
                     prostitution, and conspiracy is the first count. And then
                     you’re going to have -- on the other. The same thing. She
                     told you the story. She told you how everything worked.

¶ 86          This was the extent of the State’s addressing the various counts of human

       trafficking to the jury.

¶ 87          At the close of all evidence, the trial court instructed the jury on the human

       trafficking charges as follows:

                     [D]efendant has been charged with 17 counts of human
                     trafficking involving sexual servitude. Three counts of this
                     offense pertain to [J.O.], five counts to [A.C.], two counts to
                     [H.M.], two counts to [E.C.], three counts to [A.B.], and two
                     counts to [M.F.]. The counts are distinguished on the
                     verdict sheets by the names of the alleged victims of human
                     trafficking and by the dates of the alleged offenses. You
                     will find these names and dates on the upper right-hand
                     corner of the verdict sheets beneath the file numbers. You
                     are to return a separate verdict as to each count. For you
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                                             2021-NCCOA-694

                          ARROWOOD, J., concurring in part and dissenting in part



                     to find the defendant guilty of any count of human
                     trafficking, you must be convinced beyond a reasonable
                     doubt of the defendant’s guilt of that count.

       The verdict sheets provided to the jury merely distinguished between victims, as the

       individual charges presented the same date range in the “upper right-hand corner”

       per victim, not per count.2

¶ 88          The jury ultimately returned a verdict of guilty on a total of 12 counts: five

       counts of human trafficking A.C. from 1 December 2012 through 31 January 2013;

       two counts for H.M. from 1 January 2014 through 30 March 2014; three for A.B., one

       from 1 January 2014 through 30 August 2015, unlike in the indictments involving

       her, and the other two from 1 January 2014 through 30 April 2015, matching the

       indictments; and two for M.F. from 1 March 2014 through 30 April 2015.

¶ 89          Defendant now argues on appeal that the trial court erred in entering

       judgment for multiple counts of human trafficking for each victim and contends

       instead that his human trafficking violations constitute a single, continuing offense

       per victim.


¶ 90          “Where the language of a statute is clear and unambiguous, there is no room

       for judicial construction[,] and the courts must give [the statute] its plain and definite



       2 With the exception of the three charges involving A.B., in which one, as I discuss in the

       following paragraph, does not match the date range provided in the corresponding
       indictments.
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                                            2021-NCCOA-694

                         ARROWOOD, J., concurring in part and dissenting in part



       meaning, and are without power to interpolate, or superimpose, provisions and

       limitations not contained therein.” In re Redmond, 369 N.C. 490, 495, 797 S.E.2d

       275, 279 (2017) (citation and quotation marks omitted) (alterations in original).

       “When, however, a statute is ambiguous, judicial construction must be used to

       ascertain the legislative will.” Purcell v. Friday Staffing, 235 N.C. App. 342, 347, 761

       S.E.2d 694, 698 (2014) (citation and quotation marks omitted).

¶ 91         “A continuing offense . . . is a breach of the criminal law not terminated by a

       single act or fact, but which subsists for a definite period and is intended to cover or

       apply to successive similar obligations or occurrences.” State v. Maloney, 253 N.C.

       App. 563, 571, 801 S.E.2d 656, 661 (2017) (quotation marks omitted) (alteration in

       original) (quoting State v. Johnson, 212 N.C. 566, 570, 194 S.E. 319, 322 (1937)). “For

       example,” as I shall discuss in more detail later, “kidnapping is a continuing offense

       that lasts from the time of initial confinement until the victim regains free will[.]”

       Id., 801 S.E.2d at 662 (citation omitted).

¶ 92         Although, as discussed above, this is an issue of first impression for our Courts,

       our Courts have otherwise dealt with statutory construction under similar

       circumstances. In State v. Smith, for example, our Supreme Court addressed the

       issue of the allowed unit of prosecution for violations of N.C. Gen. Stat. § 14-190.1;

       this, at the time, was an issue of first impression. State v. Smith, 323 N.C. 439, 440-

       41, 373 S.E.2d 435, 436-37 (1988).
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                                              2021-NCCOA-694

                           ARROWOOD, J., concurring in part and dissenting in part



¶ 93         At that time, N.C. Gen. Stat. § 14-190.1, which criminalizes distribution of

       obscene literature, provided:

                    It shall be unlawful for any person, firm or corporation to
                    intentionally disseminate obscenity. A person, firm or
                    corporation disseminates obscenity within the meaning of
                    this article if he or it:

                    (1) sells, delivers or provides or offers or agrees to sell,
                        deliver or provide, any obscene writing, picture, record
                        or other representation or embodiment of the obscene;
                        or

                    ....

                    (3) publishes, exhibits or otherwise makes available
                        anything obscene; or

                    (4) exhibits, presents, rents, sells, delivers, or provides, or
                        offers or agrees to exhibit, present, rent or to provide:
                        any obscene still or motion picture, film, film strip or
                        projection slide, or sound recording, sound tape, or
                        sound track, or any matter or material of whatever form
                        which is a representation, embodiment, performance, or
                        publication of the obscene.

       Id. at 440-41, 373 S.E.2d at 436 (quoting N.C. Gen. Stat. § 14-190.1 (1986 &amp; Cum.

       Supp. 1987)).

¶ 94         Reading the statute on its face, the Supreme Court noted: “The statute makes

       no differentiation of offenses based upon the quantity of the obscene items

       disseminated.” Id. at 441, 373 S.E.2d at 436 (citation omitted). Thus, the issue before

       the Supreme Court was whether the Court of Appeals erred by affirming the trial

       court’s conviction of defendant for three “separate offenses arising out of the
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                                            2021-NCCOA-694

                         ARROWOOD, J., concurring in part and dissenting in part



       dissemination of” two magazines and one film in the same transaction. Id. at 440,

       373 S.E.2d at 436.

¶ 95         In its analysis, our Supreme Court cited Bell v. United States, stating: “if

       Congress does not fix the punishment for a federal offense clearly and without

       ambiguity, doubt will be resolved against turning a single transaction into multiple

       offenses when we have no more to go on than the present case furnishes.” Id. at 442,

       373 S.E.2d at 437 (quoting Bell v. United States, 349 U.S. 81, 84, 99 L. Ed. 905, 910-

       11 (1955)).

¶ 96         Applying Bell, our Supreme Court concluded: “until the General Assembly

       unambiguously declares a contrary intent, we should assume that a single sale in

       contravention of [N.C. Gen. Stat.] § 14-190.1 does not spawn multiple indictments.”

       Id. at 444, 373 S.E.2d at 438 (citation and quotation marks omitted). It further

       stated: “This construction of the statute is in accord with the general rule in North

       Carolina that statutes creating criminal offenses must be strictly construed against

       the State.” Id. (emphasis added) (citing State v. Hageman, 307 N.C. 1, 9, 296 S.E.2d

       433, 438 (1982); State v. Ross, 272 N.C. 67, 157 S.E.2d 712 (1967)).

¶ 97         Accordingly, the Supreme Court concluded, because the defendant had sold

       three items containing obscene literature in a single transaction, he could only be

       found guilty of one count in violation of N.C. Gen. Stat. § 14-190.1. Id. It thus

       remanded the case to the Court of Appeals to further remand to the trial court. Id.                                         STATE V. APPLEWHITE

                                             2021-NCCOA-694

                          ARROWOOD, J., concurring in part and dissenting in part



¶ 98          Addressing another issue of first impression, our Supreme Court recently

        applied Smith in State v. Conley, 374 N.C. 209, 839 S.E.2d 805 (2020). There, the

        Supreme Court addressed the proper unit of prosecution under N.C. Gen. Stat. § 14-

        269.2(b), which prohibits the possession of firearms on school property. Conley, 374

        at 212, 839 S.E.2d at 807. The defendant in question had been “convicted and

        sentenced on five separate counts for violation of the statute based on an incident in

        which he was discovered on the grounds of a school in possession of five guns.” Id. at

        209, 839 S.E.2d at 806.

¶ 99          N.C. Gen. Stat. § 14-269.2(b) provides: “It shall be a Class I felony for any

        person knowingly to possess or carry, whether openly or concealed, any gun, rifle,

        pistol, or other firearm of any kind on educational property or to a curricular or

        extracurricular activity sponsored by a school.” N.C. Gen. Stat. § 14-269.2(b) (2019).

¶ 100         Citing its prior opinion in Smith, our Supreme Court reasoned:

                     Although the facts in Smith are distinguishable from those
                     of the present case and the convictions there arose under a
                     different statute than the one presently before us, we are
                     nevertheless compelled to apply the same legal principles
                     that we applied in Smith in interpreting N.C.[Gen. Stat.] §
                     14-269.2(b). Because it is clear that N.C. [Gen. Stat.] § 14-
                     269.2(b) shares a parallel structure with the statute at
                     issue in Smith, our rationale for applying the rule of lenity
                     in that case applies equally here.

        Conley, 374 N.C. at 214, 839 S.E.2d at 808.
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                          ARROWOOD, J., concurring in part and dissenting in part



¶ 101         So, “[d]ue to the statute’s failure to clearly express the General Assembly’s

        intent as to the allowable unit of prosecution, [the Supreme Court] determined that

        this ambiguity should be resolved in favor of lenity toward the defendant.” Id. at 213,

        839 S.E.2d at 808 (citation omitted). Accordingly, the Supreme Court, bound by

        Smith, concluded that the defendant could be convicted of “only a single violation of

        this statute[,]” as opposed to five. Id. at 217, 839 S.E.2d at 810.

¶ 102         Our Court has also applied Smith. In State v. Howell, presenting yet another

        issue of first impression for our Courts, we addressed the unit of prosecution for

        violations of child pornography statutes. State v. Howell, 169 N.C. App. 58, 609

        S.E.2d 417 (2005). There, “a jury [had] convicted [the] defendant of 43 counts of third-

        degree sexual exploitation of a minor.” Id. at 59, 609 S.E.2d at 418. On appeal, the

        “defendant contend[ed] that the charges against him were multiplicitous.           [The]

        [d]efendant assert[ed] that the possession of photos on a single hard drive

        constitute[d] only one offense or, in the alternative, no more than five separate counts,

        one for each downloaded zip file.” Id. at 61, 609 S.E.2d at 419.

¶ 103         At the time, the applicable statute provided: “A person commits the offense of

        third degree sexual exploitation of a minor if, knowing the character or content of the

        material, he possesses material that contains a visual representation of a minor

        engaging in sexual activity.” Id. (quoting N.C. Gen. Stat. § 14-190.17A(a) (2000)). We

        observed:
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                     N.C. [Gen. Stat.] § 14-190.13 (2000) defines “material” as:
                     “Pictures, drawings, video recordings, films or other visual
                     depictions or representations but not material consisting
                     entirely of written words.” [The] [d]efendant suggest[ed]
                     that because the definition of “material” specifies items in
                     the plural, the photographs found on his computer
                     constitute only a single charge.

        Id. (citation omitted).

¶ 104         In our reasoning, we distinguished Smith by the use of the words “a” versus

        “any” in legislation:

                     In Smith, the [Supreme] Court held that a single sale of
                     multiple pornographic magazines could not yield multiple
                     convictions. However, Smith is also easily distinguished
                     from this case, as it involved the defendant’s conviction
                     under N.C. [Gen. Stat.] § 14-190.1(a), for intentionally
                     disseminating obscenity. The statute involved here, N.C.
                     [Gen. Stat.] § 14-190.17A(a), differs from the one in Smith
                     in two important ways. First, although enacted at the
                     same time and under the same bill as N.C. [Gen. Stat.] §
                     14-190.17A(a), the statute in Smith makes it illegal to sell
                     “any obscene writing, picture or other representation or
                     embodiment of the obscene.”          The [Supreme] Court
                     reasoned that this language, using “any” rather than “a,”
                     failed to indicate a “clear expression of legislative intent to
                     punish separately and cumulatively for each and every
                     obscene item.” By contrast, in N.C. [Gen. Stat.] § 14-
                     190.17A(a), the legislature chose to use the term “a” visual
                     depiction, thus indicating a different intent.

        Id. at 63, 609 S.E.2d at 420 (citations omitted) (emphases in original).
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¶ 105         Accordingly, “defendant’s multiple convictions [we]re consistent with the

        language and intent of the child pornography statutes and d[id] not violate his right

        to be free from double jeopardy.” Id. at 64, 609 S.E.2d at 421.

¶ 106         Our Courts have also addressed similar issues of statutory construction with

        respect to cases involving kidnapping. For example, in State v. White, the defendant

        at issue “was charged with armed robbery, two counts of first degree rape, three

        counts of first degree sexual offense and three counts of first degree kidnapping.”

        State v. White, 127 N.C. App. 565, 569, 492 S.E.2d 48, 50 (1997). With respect to the

        kidnapping charges,

                     [t]he first count of kidnapping charged defendant with
                     confining the victim in his vehicle at [an] intersection
                     . . . for the purpose of facilitating the commission of robbery
                     and not releasing her in a safe place. The second count of
                     kidnapping charged defendant with removing the victim
                     from the intersection to a park for the purpose of
                     facilitating the commission of rape or sexual offenses and
                     sexually assaulting the victim and not releasing her in a
                     safe place.       The third count of kidnapping charged
                     defendant with removing the victim from the park to
                     [another man]’s residence for the purpose of facilitating the
                     commission of rape or sexual offenses and sexually
                     assaulting the victim and not releasing her in a safe place.

        Id. “On appeal, defendant first contends the trial court erred by denying his motion

        to submit only a single count of kidnapping to the jury. Defendant argues that the

        kidnapping was a single, continuing offense.” Id.
¶ 107         At the time, the applicable kidnapping statute provided:
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                        (a) Any person who shall unlawfully confine, restrain,
                            or remove from one place to another, any other
                            person 16 years of age or over without the consent of
                            such person . . . shall be guilty of kidnapping if such
                            confinement, restraint or removal is for the purpose
                            of:

                     ....

                     (2) Facilitating the commission of any felony or facilitating
                         flight of any person following the commission of a
                         felony; or

                     (3) Doing serious bodily harm to or terrorizing the person
                         so confined, restrained or removed or any other person.

                     ....

                        (b) There shall be two degrees of kidnapping as defined
                            by subsection (a). If the person kidnapped either
                            was not released by the defendant in a safe place or
                            had been seriously injured or sexually assaulted, the
                            offense is kidnapping in the first degree and is
                            punishable as a Class D felony. If the person
                            kidnapped was released in a safe place by the
                            defendant and had not been seriously injured or
                            sexually assaulted, the offense is kidnapping in the
                            second degree and is punishable as a Class E felony.

        Id. at 570, 492 S.E.2d at 51 (alterations in original) (quoting N.C. Gen. Stat. § 14-39
        (1993)).

¶ 108         This Court noted that “N.C. Gen. Stat. § 14-39 contains no express language

        delineating each act of confinement, restraint or removal during a kidnapping as a

        separate unit of prosecution.” Id. Then, applying Smith, we stated: “Our Supreme

        Court has held that, if the General Assembly fails to establish with clarity the precise
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                          ARROWOOD, J., concurring in part and dissenting in part



        unit of prosecution for a particular crime, the statute defining such crime must be

        strictly construed against the State.” Id. (citing Smith, 323 N.C. at 444, 373 S.E.2d

        at 438).

¶ 109         We then reasoned:

                     If we interpret N.C. Gen. Stat. § 14-39 to mean that each
                     place of confinement or each act of asportation occurring
                     during a kidnapping constitutes a separate unit of
                     prosecution, the State would then be authorized to divide a
                     single act of confinement into as many counts of
                     kidnapping as the prosecutor could devise. . . . Surely this
                     is not what the General Assembly intended. Common
                     sense dictates that the offense of kidnapping should
                     encompass the entire period of a victim’s confinement from
                     the time of the initial act of restraint or confinement until
                     the victim’s free will is regained.

        Id. at 570-71, 492 S.E.2d at 51 (emphasis added).

¶ 110         “We therefore h[e]ld that the offense of kidnapping under N.C. Gen. Stat. § 14-

        39 is a single continuing offense, lasting from the time of the initial unlawful

        confinement, restraint or removal until the victim regains his or her free will.” Id. at

        571, 492 S.E.2d at 51. Thus, we concluded the defendant had committed one act of

        kidnapping, beginning when the victim was removed from her vehicle until she was

        released in a motel parking lot. Id., 492 S.E.2d at 52.

¶ 111         Again, current North Carolina human trafficking laws, as they pertain to adult

        victims, state:

                     (a) A person commits the offense of human trafficking
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                         when that person . . . knowingly or in reckless disregard
                         of the consequences of the action recruits, entices,
                         harbors, transports, provides, or obtains by any means
                         another person with the intent that the other person be
                         held in involuntary servitude or sexual servitude . . . .

                     (b) A person who violates this section is guilty of a Class C
                         felony if the victim of the offense is an adult. . . .

                     (c) Each violation of this section constitutes a separate
                         offense and shall not merge with any other offense.

        N.C. Gen. Stat. § 14-43.11.

¶ 112         Per Howell and Conley, our human trafficking statute is clear in its use of the

        word “another” in subsection (a) as it pertains to the victim: the law intends to protect

        individual victims from human trafficking, and, read in conjunction with subsection

        (c), anyone in violation thereof will, at a minimum, face charges for each victim

        affected. Additionally, much like the laws at issue in Howell and Conley, our human

        trafficking statute is also silent on its intended unit of prosecution. Although the

        majority insists subsection (c) of this statute is clear and controlling here, it does not

        illustrate how or when a violation constitutes “a separate offense” and does not

        provide the conditions under which one violation ends and another begins.

¶ 113         Furthermore, here, the Record throughout does not shed light as to why

        defendant was, or should be, convicted of 12 counts of human trafficking.

¶ 114         First, defendant was indicted on: three counts of human trafficking involving

        J.O., all occurring “between and including March 12, 2015 to March 16, 2015”; five
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                            ARROWOOD, J., concurring in part and dissenting in part



        counts    involving    A.C.    “between     and    including     December 1, 2012       through

        January 31, 2013”;       two    counts     involving    H.M.     “between      and     including

        January 1[,] 2014 to March 30, 2014”; two counts involving E.C. “between and

        including July 1, 2013 through August 5, 2013”; three counts involving A.B. “between

        and including January 1, 2014 to April 30, 2015”; and two counts involving M.F.

        “between and including March 1, 2014 to April 30, 2015[.]” This was the extent of the

        detail provided in the indictments for each count.

¶ 115          In fact, the indictments do not give any indication as to which of the multiple

        actions prohibited under N.C. Gen. Stat. § 14-43.11—recruiting, enticing, harboring,

        transporting, providing, or obtaining—are covered by each indictment or when any

        specific act of trafficking commenced or concluded, as we are provided the same date

        range for multiple counts for each victim.             In addition, although the victims’

        testimonies may well have supported separate and distinct crimes of trafficking, the

        indictments are not drawn in such a way as to differentiate the separate and distinct

        crimes that could have been charged.3



        3 In other words, these indictments do not specify what defendant did under N.C. Gen. Stat.

        § 14-43.11 to spur each indictment. This is especially interesting when compared and
        contrasted with, for example, the manner in which the State generally prosecutes drug
        trafficking violations. See, e.g., N.C. Gen. Stat. § 90-95 (2019) (making it unlawful to
        “manufacture, sell or deliver, or possess with intent to manufacture, sell or deliver, a
        controlled substance; . . . create, sell or deliver, or possess with intent to sell or deliver, a
        counterfeit controlled substance;. . . [or] possess a controlled substance”); State v. Williams,
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                           ARROWOOD, J., concurring in part and dissenting in part



¶ 116          Nonetheless, defendant was found guilty of: five counts of human trafficking

        involving A.C. from 1 December 2012 through 31 January 2013; two counts involving

        H.M. from 1 January 2014 through 30 March 2014; three involving A.B., one from

        1 January 2014 through 30 August 2015 and the other two from 1 January 2014

        through 30 April 2015; and two involving M.F. from 1 March 2014 through

        30 April 2015. Again, nowhere within the Record or the State’s arguments at trial is

        it shown that defendant committed each and every one of these violations in each and

        every timeframe as listed in the jury verdicts.

¶ 117          In summary, neither the indictments, the State’s closing argument at trial, the

        jury instructions, nor the jury verdict sheets distinguish between the individual

        counts of human trafficking upon which defendant was ultimately convicted.




        2021-NCCOA-263, ¶¶ 3-4 (unpublished) (in which the defendant was indicted under N.C.
        Gen. Stat. § 90-95 on counts of, among others, trafficking opium or heroin by possession;
        trafficking opium or heroin by transportation; trafficking opium or heroin by manufacture;
        and possession with intent to manufacture, sell, or deliver heroin); State v. Surratt, 2021-
        NCCOA-407, ¶ 3 (in which the defendant was indicted on, among others, “one charge of
        possession with intent to manufacture, sell, and deliver a controlled substance, namely
        cocaine . . . ; [and] one charge of sale and delivery of a controlled substance, namely
        cocaine[.]”); State v. McMillan, 272 N.C. App. 378, 381, 846 S.E.2d 575, 578 (2020)
        (“Defendant was . . . indicted o[n] Trafficking in Cocaine by Possession, [and] PWISD
        Cocaine[.]”); State v. Coleman, 271 N.C. App. 91, 93, 842 S.E.2d 631, 633 (2020) (“Defendant
        was indicted for possession with intent to manufacture, sell, deliver hydrocodone; selling
        and delivering hydrocodone[;] possession with intent to manufacture, sell, deliver
        alprazolam; and selling and delivering alprazolam for the 1 February 2016 transactions.
        Defendant was indicted for two counts of trafficking opium for the transactions on 4
        February and 5 February 2016.”).
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¶ 118         Furthermore, despite the fact that the State insists it distinguished the various

        charges in its own notes, and despite its reasoning that “every single time [defendant]

        put one of these girls in the car to do this business, that was an act of human

        trafficking[,]” there is nothing before us, and thus nothing before the jury at trial, to

        show this. In fact, even though, during its closing statement, the State correctly

        informed the jury that any act listed in N.C. Gen. Stat. § 14-43.11—recruit, entice,

        harbor, transport, provide, or obtain—constitutes a commission of human trafficking,

        the State did not show the 12 exact and specific instances—five, two, three, and two

        per victim, respectively—in which defendant enticed, harbored, transported,

        provided, or obtained the victims.

¶ 119         On the contrary, as reflected by the swaths of time listed in the indictments

        and jury verdicts, and as confirmed by the victims’ testimonies, the Record tends to

        show that defendant trafficked each victim over an extended period of time per victim.

        With nothing before us tending to prove defendant should be found guilty of 12 counts

        of human trafficking, the number 12 here is nothing other than arbitrary.

¶ 120         Though the majority insists its holding is necessary to avoid convicting future

        perpetrators who commit multiple violations of a single continuing offense, the

        majority’s opinion provides the State an unfettered license to prosecute a defendant

        on as many counts as it wishes without actually distinguishing the counts—a result

        that starkly contrasts with “the general rule in North Carolina that statutes creating
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                          ARROWOOD, J., concurring in part and dissenting in part



        criminal offenses must be strictly construed against the State.” Smith, 323 N.C. at

        444, 373 S.E.2d at 438 (emphasis added).

¶ 121         “If we interpret N.C. Gen. Stat. § 14-[43.11] to mean that each” act “occurring

        during a [human trafficking] constitutes a separate unit of prosecution, the State

        would then be authorized to divide a single act of confinement into as many counts of

        [human trafficking] as the prosecutor could devise.” See White, 127 N.C. App. at 570,

        492 S.E.2d at 51. Rather, “[c]ommon sense dictates that the offense of [human

        trafficking] should encompass the entire period of a victim’s” being held in

        involuntary or sexual servitude “from the time of the initial act of” recruiting,

        enticing, harboring, transporting, providing, or obtaining begins “until the victim’s

        free will is regained.” See id. at 571, 492 S.E.2d at 51.

¶ 122         As egregious and grotesque as defendant’s actions have been, which the

        majority reiterates and which I do not dispute, the severity thereof does not inform

        the Court as to why defendant was found guilty of 12 counts of human trafficking or

        why defendant could not be charged with a single, continuing offense per victim; it

        certainly does not provide guidance as to the prosecution of future human trafficking

        violations. In fact, the majority’s holding may trigger the exact opposite of its desired

        effect: by allowing the State not to distinguish between each count, the State could

        successfully charge a perpetrator with fewer counts of human trafficking than the

        evidence tends to show.
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                          ARROWOOD, J., concurring in part and dissenting in part



¶ 123         Defendant was charged for 12 counts of human trafficking without the State

        asserting what each count was, and the Record before us was not instructive. Though

        this is an issue of first impression, the pattern established by our Courts’ precedent

        is clear. “Although the facts” in the above-cited cases “are distinguishable from those

        of the present case and the convictions there arose under . . . different statute[s,]” I

        am “compelled to apply the same legal principles” therein. See Conley, 374 N.C. at

        214, 839 S.E.2d at 808. “Because it is clear that N.C. [Gen. Stat.] § 14-[43.11] shares

        a parallel structure with the[se] statute[s] . . . our rationale for applying the rule of

        lenity in th[ose] case[s] applies equally here.” See id. (emphasis added).

¶ 124         Because this is a case of first impression, I believe it is appropriate to review

        how other jurisdictions have treated similar issues. While such cases are not binding,

        and the manner in which our Supreme Court has interpreted the other criminal

        statutes detailed above are of much greater weight in this case, I believe other

        jurisdictions can many times be instructive in how we view similar situations. Our

        research has not revealed many cases on how to interpret human trafficking statutes;

        however, the New Mexico Court of Appeals has addressed the issue of determining

        the unit of prosecution in a substantially similar human trafficking statute.

¶ 125         The New Mexico human trafficking statute in pertinent part provides:

                     A. Human trafficking consists of a person knowingly:

                         (1) recruiting, soliciting, enticing, transporting or
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                            ARROWOOD, J., concurring in part and dissenting in part



                             obtaining by any means another person with the
                             intent or knowledge that force, fraud or coercion will
                             be used to subject the person to labor, services or
                             commercial sexual activity[.]

                     ....

                     D. Prosecution pursuant to this section shall not prevent
                        prosecution pursuant to any other provision of the law
                        when the conduct also constitutes a violation of that
                        other provision.

        N.M. Stat. § 30-52-1 (2019).

¶ 126         In State v. Carson, the defendant “was convicted of two counts of human

        trafficking involving the same victim . . . between January 24, 2013, and

        February 7, 2013, during their first trip to Albuquerque, and again between

        February 17, 2013, and February 22, 2013, during their second trip to Albuquerque.”

        2020-NMCA-015, ¶ 36, 460 P.3d 54, cert. denied, 2020-NMCERT-____ (No. S-1-SC-

        38128, Feb. 6, 2020). After conducting a “six-factor” inquiry, the Court of Appeals of

        New Mexico concluded the defendant’s acts “were not sufficiently distinct to support

        two separate counts of human trafficking for the same victim . . . .” Id. ¶¶ 34, 42. “If

        there [are] not sufficient indicia of distinctiveness to separate the defendant’s acts,

        we apply the rule of lenity[,] . . . invoking the presumption that the Legislature did

        not intend to create separately punishable offenses.” Id. ¶ 42. (citation and quotation

        marks omitted) (some alterations in original).
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                          ARROWOOD, J., concurring in part and dissenting in part



¶ 127         Accordingly, having reviewed the Record, North Carolina case law, and having

        surveyed how other jurisdictions treat the unit of prosecution in similar human

        trafficking statutes, I would remand this case for the trial court to vacate the multiple

        charges related to each victim and to leave intact a conviction of one count of human

        trafficking of A.C., H.M., A.B., and M.F., respectively.
